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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO




    IRONSHORE INDEMNITY, INC.
                                            Civil No. 23cv1370(FAB)
              Plaintiff
                                            In Admiralty
                    V.

    VILLA MARINA YACHT HARBOR,
               INC.

              Defendant




             STIPULATION OF DISMISSAL WITHOUT PREJUDICE

TO THE HONORABLE COURT:

     Come    Now,    all    parties   to    this     action,      through       their

respective    counsel      of   record,    and   with    utmost     respect      and

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) stipulate to dismiss

this action    without      prejudice according to the terms of the

settlement agreement executed between them.                  Each party shall

bear its own costs, expenses, and attorneys’ fees.

     RESPECTFULLY SUBMITTED, in San Juan, Puerto Rico, this

11th day of March 2024.



CASTAÑER & CÍA P.S.C.                       s/Hector L. Claudio-Rosario
MAI Center                                  167 Calle Pedro Flores
Marginal Kennedy                            Urb. Monticielo
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By:s/Alberto Castañer
Alberto J. Castañer
USDC-PR No. 225706


                        CERTIFICATE OF SERVICE

I hereby certify that on this same date, I electronically filed
the foregoing with the Clerk of the Court for the United States
District Court for the District of Puerto Rico by using the
CM/ECF system. I certify that all participants in the case are
registered CM/ECF users and that service will be accomplished by
the CM/ECF system.

                              By: S/Alberto J. Castañer
                                  Alberto J. Castañer
                                  USDC-PR No. 225706
